Case 2:05-cr-20106-.]PI\/| Document 21 Filed 07/22/05 Page 1 of 3 Page|D 26

_ FILED BY le inc
IN THE UNITED STATES DISTRICT COU'RT ' ' "

FOR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION gsJUI-_zz PH l=59

m 11 GO|AD
Q%U.S DBTR!CT mmr
~ OF IN, .*~.-é£..l,mg

 

UNI'I`ED STATES OF AMERICA
Plaintiff,

Criminal No. Q- ZO/O(a Ml

v

E\`¢\M/\j S\»:|`U£D

(60-Day Continuance)

 

 

 

 

\_r\_/~_/~._rv~_r\_/`_/-../~_/-_rv~_/V~_/v\.dv`_r

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Seotember 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22m'day of July, 2005.

Tnis document entered on the docket Sheet '\n com !ianca
with Ru|e 55 and/or 32(b} FF\CrP on 2 122 if L§ : /

Case 2:05-cr-20106-.]PI\/| Document 21 Filed 07/22/05 Page 2 of 3 Page|D 27

so ORDERED this 22nci day of July, 2005.

€M‘CM

JO PHIPPS MCCALL.A
'I'ED STATES DISTRICT J"UDGE

 

W/

Assistant United States Attorney

Z§/{¢K//-_‘~

 

 

 

 

 

Counsel for Defendant(s)

 
 

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 21 in
case 2:05-CR-20106 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

